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                                                                                        Thomas C. Jensen
September 24, 2021
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Howard A. Learner
President and Executive Director
Environmental Law & Policy Center
35 East Wacker Drive, Suite 1600
Chicago, IL 60601

Re:      Notice of Construction

Dear Mr. Learner:

I am writing to inform you that the co-owners of the Cardinal-Hickory Creek project intend to
commence project-related construction activities in Wisconsin next month, per the previously
announced schedule (posted at https://www.cardinal-hickorycreek.com). No construction
activities will occur in Wisconsin prior to October 25, 2021.

As we informed you earlier this year, no project-related construction activities will occur in the
Upper Mississippi River National Wildlife and Fish Refuge prior to October 2022.

Sincerely,



Thomas C. Jensen

TCJ

Cc: Andrew A. Smith, U.S. Department of Justice




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